Case 2:04-cv-02426-BBD-dkv Document 42 Filed 06/13/05 Page 1 of 2 Page|D 28

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EQUAL EMPLOYMENT OPPORTUN|TY ) tim z:)r~‘ tit mmpi-srs
COMN||SSION, )
)

Plaintiff, ) CIV|L ACT|ON NO.
)
v. ) 04-2426-D V

)
AJA¥ THEATERS, LLC )
d/bla HOLLYWOOD 20 CINEMA, )
)
Defendant. )

 

ORDER GRANT|NG EQUAL EMPLOYMENT OPPORTUNITY COMN||SS|ON’S
MOTION TO ENLARGE PAGE LllV|ITATlON

 

Before the Court is P|aintiff Equa| Employment Opportunity Commision’s
(“Commission”) Motion to En|arge Page limitation. For good cause show, the
Commission’s motion is granted. The Commission’s memorandum in support of its
response to Defendant’s motion for summaryjudgment may exceed the page limit set

forth in Local Ru|3e 7.2(e), but may not exceed thirty five pagesl

|T |S SO ORDERED. ©;/
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Tnis document entered en the docket sheet ln compliance
with Fiu|e 58 and/or 79(a) FRCP on L)Q ’AZZ 25

 

June 13, 2005 to the parties listcd.

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Honorable Bcrnicc Donald
US DISTRICT COURT

